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   Democracy Dies in Darkness



‘It’s time to unite’: Prince George’s County neighbors
start rent strike against living conditions
By Kyle Swenson and Samantha Schmidt

Oct. 24, 2020 at 6:08 p.m. EDT


Nine days before the November rent was due, Helia Juarez awoke Saturday morning in the two-bedroom unit at the
Bedford Station Apartments in Hyattsville, Md., where she had lived for the past 12 years.

It was the place where Juarez fixed meals for her family in the kitchen where the cabinets were slipping from the
hinges, the stove flooded a foul stench into the apartment, the bathroom sink leaked and the persistent complaints to
the management went unanswered.

And now that Juarez and her neighbors in this Spanish-speaking Prince George’s County community were feeling the
financial squeeze of the pandemic, it would be the place they would no longer pay rent — unless things changed.

“We’re the ones that take care of the place,” Juarez, who is in her 40s, said the day before their march. “The owners of
the apartments where we’ve been paying rent, on time, month after month of this pandemic, they’ve given us their
backs.”

So on Saturday, under a gray-streaked sky, Juarez joined more than 40 other residents from Bedford and the
neighboring Victoria Station Apartments in a grass courtyard surrounded by the complex’s weather-battered brick
buildings. They were there along with members of CASA, a Latino and immigrant community organization, to march
to the Ross Management Co. offices around the corner, where they would hand-deliver a letter demanding the property
owners meet to discuss conditions.

“It’s time to unite,” a woman shouted into a megaphone in the courtyard, urging neighbors to come. “Bring your kids,
bring your neighbors!”

At 11 a.m., the group formed a line, signs waved and the march kicked off. Juarez strode at the head of the line.
“November, we will not pay!” the group of women, men and children chanted. “November, we will not pay!”
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Neither the owner of the apartment complexes — Arbor Management Acquisition Company — nor Ross Management
responded to a request for comment.

The night before the march, about a dozen members of the local CASA committee organizing the rent strike met to
discuss the next day’s action.

Trent Leon-Lierman, CASA’s lead regional organizer, addressed the group, propping up their spirits and explaining
what they already had achieved.

Through phone calls and door-knocking, they had managed to get a list of 500 residents who potentially will withhold
their November rent as a way to demand better living conditions, he said. Already, about 100 residents had withheld
rent in October.

“You have started a movement,” Leon-Lierman said. “It’s not only those of you in this room, it’s so many people.”

The tenants went around the circle sharing their grievances with the properties. They spoke of leaking tubs and sinks,
of falling fixtures and maintenance requests consistently going unanswered. They also talked about how the
coronavirus pandemic had upended their sources of income and stability.

One woman said her partner contracted the coronavirus, causing them to lose their main source of income while he
was sick. Another said she knew a family that could no longer pay its phone bill. Another woman, a single mother
named Maria Lara Santos, said her Internet was cut off on Wednesday, leaving her 9-year-old daughter without WiFi
for virtual classes, and meaning she had to study from a friend’s house.

“We asked [the management] to have a conversation with us, and he ignored us,” Santos said about the general
conditions. “They don’t realize … that we don’t even have enough money to buy food. There’s no work. … We’re left
unable to feed our kids just to pay the rent.”

For Saturday’s march, the committee decided to assign four residents the responsibility of entering the management
office to confront the staff with the residents’ letter. Juarez raised her hand to volunteer.

Before the pandemic, she was working in a clothing store in Hyattsville. Along with her partner, who works in
construction, Juarez was always able to make enough money to cover rent on time every month.

But as the pandemic forced businesses to shut down in March, she was laid off, and the store ultimately closed. For
months, she’s tried to find work at other stores, “but they tell me business is too low,” she said. “There’s no work.”

Juarez’s partner has struggled to find construction jobs, and only works a few days here and there. With little income,
the couple has burned through their savings to pay rent. With no government unemployment support or stimulus and
no family nearby to help, they have relied on food donations from a nearby church to feed her 10-year-old son.

But by the start of October, they had no way to pay their rent.
Juarez would talk to her neighbors in the hallways and while waiting in line for food at the nearby church, and she
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heard stories that were even more dire — families with several children, with sick relatives and no way to find work or
to find government assistance. Many of the families in the building are undocumented, she said.

“The neighbors here, we talk,” she said. “You notice the need. People will say, ‘Today, I don’t have anything, I don’t
have any way to buy food, or I don’t have enough for tomorrow or for the rest of the week,’” she said. “We help each
other out.”

On Saturday morning, the line of marchers — belting out slogans and beating water bottles — arrived at the
management office on University Boulevard. The walk took five minutes. Morning traffic shot by as the group filled the
sidewalk. Juarez and three others stepped into the building.




In the hallway, the doors to the office were locked. Knocks brought no answer. “Closed,” the sign read, and a small
clock indicated the staff would return by 9:30 a.m. It was now 11:10 a.m.

Rather than wait, Juarez and the others began taping copies of the letter to the glass doorway, affixing their demands
where they would not be missed.

“We’re disappointed they are not here,” Juarez said before stepping back outside to join her neighbors.

Correction: An earlier version of this story incorrectly stated that CASA organizers had obtained a list of 1,500
tenants who might be willing to withhold November rent. It was 500 tenants. This version has been updated.
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